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DEFENDANT INFORMATION SHEET ("2 L> 6\- Ma)

TO: Clerk, U.S. District Court

x Felony Class A Misdemeanor

DEFENDANT: Robert Hunter Biden

x Indictment Information

DOB (Year Only) —_1970

COUNTY OF OFFENSE:

New Castle

OFFENSE(S) & CITATION(S):

MAXIMUM PENALTY:

Count 1: False Statement in Purchase of a Firearm,
Title 18, United States Code, Sections 922(a)(6) and
924(a)(2).

10 years of imprisonment; a fine of $250,000; 3 years of
supervised release; a special assessment of $100

Count 2: False Statement Related to Information
Required to be Kept By Federal Firearms Licensed
Dealer, Title 18, United States Code, Section
924(a)(1)(A).

5 years of imprisonment; a fine of $250,000; 3 years of
supervised release; a special assessment of $100

Count 3: Possession of a Firearm by a Person who is
an Unlawful User of or Addicted to a Controlled
Substance, Title 18, United States Code, Sections
922(¢)(3) and 924(a)(2) (2018).

10 years of imprisonment; a fine of $250,000; 3 years of
supervised release; a special assessment of $100

INSTRUCTIONS
Order to Produce for Arraignment on: at 1:00 p.m
Issue Arrest Warrant upon signing of Order FILED
x Issue Summons for Initial Appearance on: at Brn 44 mane
ulr T4 _¢eu¢éo
Interpreter Needed Language
U.S. DISTRICT COURT NieTaICT OF AE ayapE

DEFENDANT INFORMATION

Defendant’s Address:

City: Malibu County:

Los Angeles

State: California Zip: 90265

Date of Arrest:

Date of 1*' Appearance in this District

July 26, 2023

See Order Setting
Bail Conditions of Release,
Set

: Doc. 15 (23-61-MN) Date Made:

July 26, 2023

Remains in Federal Custody

/s/ Derek i. Hines
Derek E. Hines
Leo J. Wise
Assistant Special Counsels

